       Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 1 of 8




 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK
 ______________________________________
 CHRISTOPHER DAY, individually and on                       CLASS ACTION
 behalf of all others similarly situated,                   COMPLAINT

                            Plaintiff,                      Civ. No.

            v.                                              Trial by Jury is Demanded


 MERCANTILE ADJUSTMENT BUREAU,
 LLC,

                     Defendant.
 ______________________________________

       Plaintiff, CHRISTOPHER DAY (hereinafter referred to as “PLAINTIFF”), by and through

undersigned counsel, individually and on behalf of all others similarly situated, alleges upon

knowledge as to himself and his own acts, and upon information and belief as to all other matters,

and brings this Complaint against Defendant, MERCANTILE ADJUSTMENT BUREAU, LLC

(hereinafter referred to as “DEFENDANT”) and in support thereof alleges the following:

                                  PRELIMINARY STATEMENT

       1.        PLAINTIFF brings this action for damages arising from DEFENDANT’s

violations of the Fair Debt Collection Practices Act (hereinafter referred to as the “FDCPA”), 15

U.S.C. § 1692, et seq. DEFENDANT uses voice mail scripts that do not comply with the FDCPA.

                                  JURISDICTION AND VENUE

       2.        The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1692k(d).

       3.        Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events giving rise to the claim occurred in the Western District of New York.

                                             PARTIES

       4.        PLAINTIFF is a natural person residing in Spencerport, New York.
       Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 2 of 8




       5.      PLAINTIFF is a “consumer” as defined in the FDCPA at 15 U.S.C. § 1692a(3).

       6.      PLAINTIFF allegedly owes a (past due) consumer “debt” as defined by 15 U.S.C.

§ 1692a(5).

       7.      DEFENDANT is an LLC formed under the laws of New York, its principal

business purpose being debt collection, with its principal office located at 165 Lawrence Bell

Drive, Suite 100, Williamsville, New York, 14221.

       8.      PLAINTIFF is informed and believes, and thereon alleges, that DEFENDANT

regularly collects or attempts to collect consumer debts owed or due or asserted to be owed or due

another and that DEFENDANT is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                  STATEMENT OF FACTS

       9.      PLAINTIFF repeats, re-alleges, and incorporates by reference, paragraphs 1

through 8 inclusive, above.

       10.     On or about October 19, 2018, DEFENDANT called PLAINTIFF and left the

following voice mail:

                Hi, my name is [unintelligible], I have an important message from
               Mercantile Adjustment Bureau. Please contact me at 8772540943.
               This call is from a debt collector. Please when calling use reference
               64224040. Thank you.

       11.     This was DEFENDANT’s first communication with PLAINTIFF.

       12.     Thereafter, PLAINTIFF did not receive any further written communication from

DEFENDANT.

                               CLASS ACTION ALLEGATIONS

       13.     PLAINTIFF repeats, re-alleges, and incorporates by reference, paragraphs 1

through 12 inclusive, above.
       Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 3 of 8




       14.     PLAINTIFF brings this claim individually and on behalf of all others similarly

situated for the purpose of asserting the claim alleged in this Complaint on a common basis.

PLAINTIFF’s proposed class is defined under Federal Rules of Civil Procedure (“Fed. R. Civ.

P.”) 23(b)(3), and PLAINTIFF proposes to act as representative of the following class:

               a. A class consisting of natural persons in New York who:

                       i. Within one year prior to the filing of this action;

                      ii. Received a voice mail from DEFENDANT;

                      iii. In substantially the same form as the voice mail that DEFENDANT left

                          on PLAINTIFF’s phone;

                      iv. Where the voice mail was the first communication that DEFENDANT

                          had with that consumer.

       15.     PLAINTIFF does not know the exact size or identities of the class, as

DEFENDANT maintains exclusive control of such information. PLAINTIFF believes that the

class includes between 100 and 500 individuals whose identities can be readily determined from

DEFENDANT’s business records. Therefore, the proposed class is so numerous that joinder of

all members is impracticable.

       16.     All class members have been affected by the same conduct. The common questions

of law and fact predominate over any questions affecting only individual members of the class.

These questions include, but are not limited to:

               a. Whether DEFENDANT violated 15 U.S.C. § 1692e(11) by neglecting to

                   include particular information in its voice mail;

               b. The identities of individuals who received a substantially similar voice mail

                   from DEFENDANT;
       Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 4 of 8




                 c. The total number of voice mails that DEFENDANT left on consumers’ phones.

       17.       PLAINTIFF’s claims are typical of the claims of the class and do not conflict with

the interests of any other class members. PLAINTIFF and the members of the class were

uniformly subjected to the same conduct.

       18.       Upon information and belief, DEFENDANT has a practice and policy of

intentionally and systematically employing a voice mail script that neglects to disclose that they

are attempting to collect a debt, and that any information obtained will be used for that purpose.

       19.       PLAINTIFF will fairly and adequately represent the class members’ interests and

has retained counsel who are qualified to pursue this litigation. PLAINTIFF’s counsel’s firm,

DOUGLAS FIRM, P.C., focuses on prosecuting FDCPA lawsuits.                  PLAINTIFF’s counsel,

Alexander J. Douglas, also has experience in advising debt collectors on defending FDCPA claims.

       20.       PLAINTIFF is committed to vigorously pursuing his claims.

       21.       A class action is superior for the fair and efficient adjudication of the class

members’ claims as Congress specifically envisioned class actions as a principal means of

enforcing the FDCPA.        See 15 U.S.C. § 1692k. The members of the class are generally

unsophisticated consumers whose rights will not be vindicated in the absence of a class action.

Prosecution of separate actions by individual members of the class would also create the risk of

inconsistent or varying adjudications resulting in the establishment of inconsistent or varying

standards and would not be in the best interest of judicial economy.

       22.       A class action regarding the issues in this case does not create any problems of

manageability.

       23.       If facts are discovered to be appropriate, PLAINTIFF will seek to certify the class

under Rule 23(b)(3) of the Federal Rules of Civil Procedure.
       Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 5 of 8




                                  FIRST CLAIM FOR RELIEF

                        VIOLATIONS OF THE FDCPA 15 U.S.C. § e(11)
                         BROUGHT BY PLAINTIFF INDIVIDUALLY
                            AND ON BEHALF OF THE CLASS

       24.     PLAINTIFF repeats, re-alleges, and incorporates by reference, paragraphs 1

through 23 inclusive, above.

       25.     In the initial communication with the consumer, a debt collector must notify the

consumer that they are attempting to collect a debt, and that any information obtained will be used

for that purpose. 15 U.S.C. § 1692e(11).

       26.     On or about October 19, 2018, DEFENDANT called PLAINTIFF and left the

following voice mail:

                Hi, my name is [unintelligible], I have an important message from
               Mercantile Adjustment Bureau. Please contact me at 8772540943.
               This call is from a debt collector. Please when calling use reference
               64224040. Thank you.

       27.     This was DEFENDANT’s first communication with PLAINTIFF.

       28.     In this voice mail, DEFENDANT did not disclose that they were attempting to

collect a debt, or that any information obtained will be used for that purpose, and therefore violated

15 U.S.C. § 1692e(11).

       29.     As a result of the FDCPA violations by DEFENDANT, PLAINTIFF is entitled to

an award of statutory damages.

       30.     It has been necessary for PLAINTIFF to obtain the services of an attorney to pursue

this claim, on behalf of himself and those similarly situated, he and is entitled to recover reasonable

attorneys’ fees therefor.
       Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 6 of 8




       31.     PLAINTIFF has suffered the concrete injury of being deprived of his right to not

receive communications from debt collectors that contain material misrepresentations, and he

therefore has standing for the purposes of Article III.

                                SECOND CLAIM FOR RELIEF

                        VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692g
                         BROUGHT BY PLAINTIFF INDIVIDUALLY

       32.     PLAINTIFF repeats, re-alleges, and incorporates by reference, paragraphs 1

through 31 inclusive, above.

       33.     Within five days of its initial communication with a consumer, a debt collector must

provide the consumer with specific information in a written notice per 15 U.S.C. § 1692g.

       34.     On or about October 19, 2018, DEFENDANT called PLAINTIFF and left the

following voice mail:

                Hi, my name is [unintelligible], I have an important message from
               Mercantile Adjustment Bureau. Please contact me at 8772540943.
               This call is from a debt collector. Please when calling use reference
               64224040. Thank you.

       35.     This was DEFENDANT’s initial communication with PLAINTIFF.

       36.     Thereafter, PLAINTIFF did not receive any further written communication from

DEFENDANT.

       37.     By not providing PLAINTIFF with a written notice, DEFENDANT violated 15

U.S.C. § 1692g.

       38.     As a result of the FDCPA violations by DEFENDANT, PLAINTIFF is entitled to

an award of statutory damages.

       39.     It has been necessary for PLAINTIFF to obtain the services of an attorney to pursue

this claim, and he is entitled to recover reasonable attorneys’ fees therefor.
       Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 7 of 8




       40.     PLAINTIFF has suffered the concrete injury of being deprived of his right to

receive the information guaranteed by 15 U.S.C. § 1692g, and he therefore has standing for the

purposes of Article III.

                                 DEMAND FOR JURY TRIAL

       41.     Please take notice that PLAINTIFF demands trial by jury in this action.


                                     PRAYER FOR RELIEF

       WHEREFORE, PLAINTIFF respectfully prays that this Court grant the following relief in

PLAINTIFF’s favor, and that judgment be entered against DEFENDANT for the following:

       (1)     For statutory damages awarded to PLAINTIFF, not to exceed $1,000, pursuant to

               15 U.S.C. § 1692k(a)(2)(A);

       (2)     For certification of the class;

       (3)     For statutory damages awarded to the Class Members, pursuant to 15 U.S.C. §

               1692k(a)(2)(B), of the amount not to exceed the lesser of $500,000 or 1 per centum

               (1%) of the net worth of DEFENDANT;

       (4)     For reasonable attorneys’ fees for all services performed by counsel in connection

               with the prosecution of these claims;

       (5)     For reimbursement for all costs and expenses incurred in connection with the

               prosecution of these claims; and

       (6)     For any and all other relief this Court may deem appropriate.

       Dated: Rochester, New York.
              November 14, 2018
                                                 Respectfully Submitted,
                                                 DOUGLAS FIRM, P.C.

                                                 /s/ Alexander J. Douglas
Case 6:18-cv-06810-MAT-JWF Document 1 Filed 11/14/18 Page 8 of 8




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